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   14                      UNITED STATES DISTRICT COURT
   15        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   16                                       Master File No. 2:22-cv-00809-MCS-MAR
   17 In re PANDORA MEDIA, LLC              CONSOLIDATED ACTION
      COPYRIGHT LITIGATION                  COUNTERCLAIM DEFENDANT
   18                                       WORD COLLECTIONS, INC.’S
   19                                       NOTICE OF MOTION AND MOTION
                                            TO DISMISS PANDORA MEDIA, LLC’S
   20                                       COUNTERCLAIMS; MEMORANDUM
                                            OF POINTS AND AUTHORITIES IN
   21 This Document Relates To:             SUPPORT THEREOF
   22 ALL ACTIONS                           Filed concurrently with [Proposed] Order,
                                            Request for Judicial Notice, and Declaration
   23                                       of Lauren A. Moskowitz
   24                                       Date: August 29, 2022
                                            Time: 9:00 a.m.
   25                                       Crtrm.: 7C - First Street Courthouse
                                                    350 W. 1st Street, 7th Floor,
   26                                               Los Angeles, California 90012
   27                                       Assigned to Hon. Mark C. Scarsi
   28

           NOTICE OF MOTION AND MOTION TO DISMISS PANDORA MEDIA, LLC’S COUNTERCLAIMS
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    1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
    2         PLEASE TAKE NOTICE that on August 29, 2022, at 9:00 a.m., or as soon
    3 thereafter as this matter may be heard in the above-entitled court, before the
    4 Honorable Mark C. Scarsi, United States District Judge of the Central District of
    5 California in Courtroom 7C, Counterclaim Defendant Word Collections, Inc. will,
    6 and hereby does, move for an order dismissing Defendant and Counterclaimant
    7 Pandora Media, LLC’s Counterclaims to Plaintiffs’ Amended Consolidated
    8 Complaint or striking the allegations therein pursuant to Federal Rule of Civil
    9 Procedure 12(b)(1), for lack of Article III standing, and Federal Rule of Civil
   10 Procedure 12(b)(6), for failure to state any claims for relief.
   11         This motion is based on the following grounds: Pandora Media, LLC lacks
   12 standing to pursue its claims because it fails adequately to plead a cognizable injury
   13 under Article III and fails adequately to plead antitrust standing; its claims are
   14 barred by the Noerr-Pennington doctrine; it failed adequately to allege the elements
   15 of its antitrust claims, specifically that it lacks a realistic opportunity to obtain
   16 separate licenses for literary works of individual copyright owners, that Word
   17 Collections, Inc. possesses market power in a well-pleaded market, and the
   18 necessary elements of its conspiracy and tying claims; and other deficiencies
   19 outlined in the accompanying Memorandum of Points and Authorities. This motion
   20 is based upon this Notice of Motion, the attached Memorandum of Points and
   21 Authorities, the concurrently filed Request for Judicial Notice, all papers on file
   22 with the Court in this action, and such other evidence and argument as the Court
   23 may receive.
   24         This motion is made following the conference of counsel pursuant to
   25 L.R. 7-3, which took place on July 7, 2022, between counsel for Word Collections,
   26 Inc. and counsel for Pandora Media, LLC.
   27
   28
            NOTICE OF MOTION AND MOTION TO DISMISS PANDORA MEDIA, LLC’S COUNTERCLAIMS
                                                    2
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    1 DATED: July 15, 2022
    2                                        Oliver Rocos
                                             BIRD, MARELLA, BOXER, WOLPERT,
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    5                                             by
    6                                                  /s/ Oliver Rocos
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   11                                             by
                                                       /s/ Lauren A. Moskowitz
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   13                                       Attorneys for Counterclaim Defendant
   14                                          Word Collections, Inc.
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    1                 CITATION AND ABBREVIATION CONVENTIONS
    2 Entities and Parties
    3     • “Comedians”: Brave Lion, Inc.; Nick Di Paolo; Mary Reese Hicks; Main
            Sequence, Ltd.; Robin Williams Trust; Ron White, Inc.; Yellow Rose
    4
            Productions, Inc.
    5
          • “Counterdefendants”: Word Collections and the Comedians, collectively
    6
          • “Pandora”: Pandora Media, LLC
    7     • “SiriusXM”: SiriusXM Holdings Inc.
    8     • “Word Collections”: Word Collections, Inc.
    9 Pleadings and Court Submissions
   10    • “Answer”: Answer and Defenses of Defendant Pandora to Plaintiffs’
   11       Amended Consolidated Complaint, filed on May 5, 2022 (ECF 33)
   12     • “Complaint”: Amended Consolidated Complaint for Copyright Infringement,
            filed on April 26, 2022 (ECF 24)
   13
          • “Counterclaims”: Defendant and Counterclaimant Pandora’s Counterclaims
   14       to Plaintiffs’ Amended Consolidated Complaint Against All
   15       Plaintiffs/Counterclaim Defendants and Counterclaim Defendant Word
            Collections, filed on May 5, 2022 (ECF 34)
   16
          • “Ex.”: Exhibit to Declaration of Lauren A. Moskowitz in support of Request
   17       for Judicial Notice
   18     • “Request for Judicial Notice”: Word Collections’ Request for Judicial Notice,
   19       filed concurrently herewith
        Other
   20
          • “2011 10-K”: Pandora Media, Inc., Annual Report (Form 10-K) (Mar. 16,
   21
            2012)
   22
          • “2016 10-K”: Pandora Media, Inc., Annual Report (Form 10-K) (Feb. 16,
   23       2017)
   24     • “Herring Testimony”: In re Determination of Rates and Terms for Making
            and Distributing Phonorecords (Phonorecords III), No. 16-CRB-0003-PR
   25
            (2018-2022) Open Session Transcript, Volume IV, March 14, 2017,
   26       Testimony of Michael Herring
   27     • “Proposed License”: Performance License Agreement proposed by Word
            Collections to Pandora
   28
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    1                MEMORANDUM OF POINTS AND AUTHORITIES
    2         This copyright litigation seeks redress for a decade of Pandora’s willful
    3 copyright infringement of the Comedians’ literary works. In a blatant act of
    4 retaliation and bullying, Pandora has ginned up spurious antitrust Counterclaims
    5 against the Comedians and their agent, Word Collections. This intimidation tactic
    6 should not be permitted to stand, and the Counterclaims should be dismissed.
    7         Word Collections is an organization that has been engaged by a few dozen
    8 owners of copyrights to literary works underlying comedy recordings, including the
    9 Comedians, to perform the benign and procompetitive activity of assisting in
   10 procuring licenses and royalties for their legally protected property. In its
   11 Counterclaims, Pandora paints an absurd picture of Word Collections as a ringleader
   12 of a price-fixing cartel of comedians and as a monopolist that is somehow capable of
   13 extracting supracompetitive royalties from the likes of Pandora, which—together
   14 with its parent, SiriusXM—dominates digital broadcasting of comedy content.
   15         Pandora publicly has recognized for over a decade that copyrights to the
   16 literary works underlying comedy recordings exist (separate from copyrights for the
   17 sound recordings of such content), that Pandora has not separately licensed or paid
   18 for broadcasting or streaming those literary works, and that it could be sued for
   19 infringing those works. That risk of suit eventually materialized. But the
   20 Comedians did not commence this litigation until nearly a year after Word
   21 Collections put Pandora on notice of its infringement and attempted to enter a
   22 license. If Pandora had a bona fide antitrust claim based on Word Collections’
   23 existence or conduct, it would have brought it long before these copyright actions
   24 were filed by the Comedians, not in response to them.
   25         Pandora’s Counterclaims are clearly nothing more than a backdoor attempt to
   26 dismiss copyright claims to which they have no valid defense. This is not
   27 hyperbole: Pandora explicitly requests an injunction to shut down the copyright
   28 litigation and render the copyrights unenforceable, and seeks treble damages for the
              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS
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    1 costs of defending that litigation. (Counterclaims Prayer for Relief §§ (e)-(g).)
    2 Pandora also effectively seeks to dissolve Word Collections and leave comedians to
    3 fend for themselves—i.e., be steamrolled by Pandora. (Id. §§ (c)-(d).) These
    4 Counterclaims have nothing to do with protecting competition and everything to do
    5 with squashing any and all challenges to Pandora’s copyright infringement. They
    6 should be dismissed with prejudice.
    7          First, Pandora lacks Article III and antitrust standing. Conclusory references
    8 to hypothetical “supracompetitive” license rates that it might be forced to pay in the
    9 future do not confer standing. (Section I.A.) Nor does Pandora acquire standing by
   10 having to defend against meritorious copyright infringement claims. (Section I.B.)
   11          Second, the copyright infringement lawsuits and Counterdefendants’ related
   12 activities in pursuit of a license to resolve potential litigation constitute protected
   13 First Amendment petitioning activity that cannot form the basis of an antitrust claim
   14 under the Supreme Court’s Noerr-Pennington doctrine. (Section II.)
   15          Third, Pandora fails to plead the requisite elements of its Sherman Act claims.
   16 All of Pandora’s claims are fatally flawed because it cannot plead a lack of a
   17 “realistic opportunity” to obtain separate licenses for the literary works of individual
   18 copyright owners. (Section III.A.) Pandora does not adequately plead a relevant
   19 antitrust market or that Counterdefendants possess market power under Section 2.
   20 (Section III.B.) Pandora also fails to plead the elements of its Section 1 price fixing
   21 conspiracy and tying claims. (Section III.C.)
   22                               STATEMENT OF FACTS 1
   23          Word Collections is an agent, advocate and administrator of licensing
   24 agreements and royalties collections for its clients, which include comedians and
   25 other spoken word performers who create and control literary works.
   26
   27      1
          These facts are drawn from the Counterclaims (taken as true) or documents for
   28 which judicial notice is proper. (See Request for Judicial Notice.)
               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS
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    1 (Counterclaims ¶ 16.) Pandora’s Counterclaims “assume” the existence of “public
    2 performance, reproduction and/or distribution rights in the jokes embodied in
    3 comedy recordings”, which “comedians, as authors of those jokes, might have
    4 retained” and could license “separately” from the sound recording itself. (Id. ¶ 6.)
    5 Pandora also concedes that it did not secure licenses for the literary works embodied
    6 in the spoken word comedy routines that it streamed for over a decade. (Id. ¶ 43.)
    7 In its own SEC filings, Pandora warned that its practice could expose it to litigation.
    8 In 2011, Pandora disclosed that it had “started streaming spoken word comedy
    9 content” but that “pursuant to industry-wide custom and practice, this content is
   10 performed absent a specific license from any such performing rights organization”,
   11 which could create “exposure to new regulatory and legal risks”. (Ex. A, 2011 10-K
   12 at 29.) Pandora subsequently warned investors: “There can be no assurance that
   13 this industry custom will not change or that we will not otherwise become subject to
   14 additional licensing costs for spoken word comedy content imposed by performing
   15 rights organizations or individual copyright owners in the future or be subject to
   16 damages for copyright infringement.” (Ex. B, 2016 10-K at 15.)
   17          Word Collections approached Pandora in 2020 on behalf of its clients to offer
   18 a license to the Comedians’ literary works that Pandora uses. (Counterclaims ¶ 82;
   19 Answer at 23 (admitting that “representatives of Word Collections contacted
   20 Pandora in August 2020 and various times thereafter”).) Word Collections sent
   21 Pandora the Proposed License in March 2021.2 Despite claiming that it is “willing
   22 to enter into reasonable licenses negotiated in a competitive market for legitimate
   23 copyrights covering the content it transmits” (Counterclaims ¶ 40), Pandora
   24 nowhere alleges that it counteroffered Word Collections or otherwise attempted to
   25
   26
           2
            That same correspondence included a letter and memorandum providing notice
   27
      of a copyright infringement claim and explaining in detail the legal bases of the
   28 claim. (Ex. C, 3/11/21 Email from J. Price to J. Subramaniam et al.)
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    1 negotiate the terms of licensing the literary works of Word Collections’ clients,
    2 whether individually or as a group, at any time. Pandora does not allege that Word
    3 Collections ever said “no” to any overall rate, any individual rate, any royalty
    4 structure, or anything at all. After waiting for nearly a year (or a decade, really)
    5 with no movement from Pandora, the Comedians sued Pandora for copyright
    6 infringement. Pandora now brings these Counterclaims in a brazen attempt to shut
    7 those cases down.
    8          Pandora’s antitrust “theory” is that by offering Pandora a “blanket license”,
    9 Counterdefendants have (1) collusively fixed the price of licensing the Comedians’
   10 literary works (id. ¶¶ 84-90); (2) tied “the rights to the various desirable comedy
   11 routines embodied in comedy recordings” to “other, less desirable, literary works
   12 rights in Word Collections’ portfolio” (id. ¶¶ 91-95); (3) monopolized, or attempted
   13 to monopolize, the U.S. market for “comedy routines embodied in comedy
   14 recordings” (id. ¶¶ 96-101); and (4) conspired to monopolize that market (id.
   15 ¶¶ 102-08). On its face, this market includes the rights to all comedy routines, but
   16 Pandora elsewhere alleges the existence of distinct product markets for “desirable”
   17 and “less desirable” or “undesirable” literary works rights. (Id. ¶¶ 66, 93.) Pandora
   18 nowhere explains this inconsistency, nor whether “desirable” refers to an assessment
   19 by Pandora, by certain of its customers but not others, by critics, or otherwise.
   20          Pandora alleges the conspiracy involved the Comedians agreeing with Word
   21 Collections through “exclusive affiliation agreements” to offer a “blanket license” at
   22 a fixed price. 3 (Id. ¶¶ 85, 104.) Pandora alleges with no basis it has been harmed
   23
   24
           3
            Pandora falsely alleges that this “blanket license” would force it to “pay for”
   25
      material that it does not want. (Counterclaims ¶¶ 47, 70, 80, 82.) The actual
   26 Proposed License makes clear that Pandora would be entitled to play any work
      covered by the license, but would not pay for anything it did not use. (See Ex. C,
   27
      Proposed License ¶ 5 (defining license fee calculations based on performances of
   28 literary works rather than a single subscription price for access to all works in Word
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    1 because it will have to pay “supracompetitive royalties” in the future if the alleged
    2 conspiracy succeeds (on top of being forced to incur costs defending the copyright
    3 actions). (Id. ¶¶ 82-83.) Pandora does not specify what a “competitive” rate would
    4 be or how the proposed rate was supracompetitive. Instead, Pandora resorts to
    5 vague descriptors, alleging royalties would be “dramatically increas[ed]” (id. ¶ 5);
    6 “substantially more” (id. ¶ 66); and “substantially greater” (id. ¶ 70) than the rate
    7 that would prevail in a “competitive” market in which each comedian vied against
    8 all others to have Pandora license and pay royalties for the literary works it
    9 broadcasts and streams. Pandora could have licensed and negotiated a royalty rate
   10 with any of the thousands of comedians who are not clients of Word Collections to
   11 establish its view of the competitive rate at any point “without difficulty” (id. ¶ 46),
   12 but it did not. Pandora makes no attempt to quantify the supposed rate increase, and
   13 the Counterclaims make clear that its true complaint is that it has to pay anything at
   14 all for the literary works embodied in comedy recordings.
   15                         APPLICABLE LEGAL STANDARDS
   16         To withstand a motion to dismiss for failure to state a claim under Federal
   17 Rule of Civil Procedure 12(b)(6), a complaint must contain plausible factual
   18 allegations that support a “reasonable inference that the defendant is liable for the
   19 misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). It is not
   20 sufficient to “plead[] facts that are ‘merely consistent with’ a defendant’s liability”;
   21 rather, the allegations must cross “the line between possibility and plausibility of
   22 ‘entitlement to relief’”. Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557
   23 (2007)). Determining whether a plausible claim is stated is “a context-specific task
   24 that requires the reviewing court to draw on its judicial experience and common
   25 sense”. Id. at 679. In performing this exercise, the court must ignore “‘naked
   26
   27
      Collections’ portfolio).) This mischaracterization was raised as part of the meet and
   28 confer process in connection with this motion but was not corrected by Pandora.
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    1 assertion[s]’ devoid of ‘further factual enhancement’”, and is “not bound to accept
    2 as true a legal conclusion couched as a factual allegation”. Id. (quoting Twombly,
    3 550 U.S. at 555, 557). The same standards apply to a facial challenge to Article III
    4 standing. See Terenkian v. Republic of Iraq, 694 F.3d 1122, 1131 (9th Cir. 2012).
    5         Rigorous enforcement of these pleading requirements plays an especially
    6 important role in evaluating antitrust claims. See Kendall v. Visa USA, Inc.,
    7 518 F.3d 1042, 1046-47 (9th Cir. 2008). As the Supreme Court has recognized,
    8 antitrust disputes impose considerable fact and expert discovery burdens that tax the
    9 time, energy and resources of courts and litigants. See id. (citing Twombly, 550 U.S.
   10 at 558-59). Accordingly, antitrust allegations “must ‘raise a reasonable expectation
   11 that discovery will reveal evidence of’ an injury to competition” and “a complaint’s
   12 allegation of a practice that may or may not injure competition is insufficient to
   13 ‘state a claim that is plausible on its face’”. Brantley v. NBC Universal, Inc., 675
   14 F.3d 1192, 1198 (9th Cir. 2012) (quoting Twombly, 550 U.S. at 556, 570).
   15 Moreover, “to allege an agreement between antitrust co-conspirators, the complaint
   16 must allege facts such as a ‘specific time, place, or person involved in the alleged
   17 conspiracies’”. Kendall, 518 F.3d at 1047 (quoting Twombly, 550 U.S. at 565 n.10).
   18                                        ARGUMENT
   19 I.      PANDORA LACKS STANDING TO PURSUE ITS CLAIMS.
   20         Pandora alleges two theories of harm—potential exposure to paying (but not
   21 actually paying) “supracompetitive” royalty rates for the literary works underlying
   22 the sound recordings of comedy performances, and payment of defense costs or
   23 damages in the copyright infringement cases brought by the Comedians. Neither
   24 meets the standards for Article III or antitrust standing. As a result, the
   25 Counterclaims must be dismissed with prejudice.
   26         The “irreducible constitutional minimum of standing” under Article III is that
   27 the plaintiff “have (1) suffered an injury in fact, (2) that is fairly traceable to the
   28 challenged conduct of the defendant, and (3) that is likely to be redressed by a
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    1 favorable judicial decision”. Spokeo, Inc. v. Robins, 578 U.S. 330, 337 (2016). To
    2 meet the injury-in-fact requirement, the alleged injury must be “concrete and
    3 particularized” as well as “actual or imminent, not conjectural or hypothetical”.
    4 Friends of the Earth, Inc. v. Laidlaw Env’t Servs., 528 U.S. 167, 180 (2000).
    5 Article III is not satisfied where “the plaintiff alleges only an injury at some
    6 indefinite future time, and the acts necessary to make the injury happen are at least
    7 partly within the plaintiff’s own control”. Lujan v. Defs. of Wildlife, 504 U.S.
    8 555, 564 n.2 (1992). In an antitrust case, Article III injury-in-fact is “an injury
    9 which bears a causal connection to the alleged antitrust violation”. Gerlinger v.
   10 Amazon.com Inc., 526 F.3d 1253, 1255 (9th Cir. 2008) (quotation omitted).
   11         Separate from Article III standing, private antitrust plaintiffs must also meet
   12 “the more demanding standard for antitrust standing”. Lucas Auto. Eng’g, Inc. v.
   13 Bridgestone/Firestone, Inc., 140 F.3d 1228, 1232 (9th Cir. 1998) (quotation
   14 omitted); see also Am. Ad Mgmt., Inc. v. Gen. Tel. Co. of Cal., 190 F.3d 1051, 1054
   15 n.3 (9th Cir. 1999) (“A plaintiff who satisfies the constitutional requirement of
   16 injury in fact is not necessarily a proper party to bring a private antitrust action.”).
   17 In this Circuit, “courts regularly dismiss antitrust claims” for failure to plead
   18 antitrust standing. Novation Ventures, LLC v. J.G. Wentworth Co., 156 F. Supp. 3d
   19 1094, 1099-1100 (C.D. Cal. 2015).
   20         Antitrust standing turns on (i) “the nature of the plaintiff’s alleged injury”,
   21 (ii) “the directness of the injury”, and (iii) “the speculative measure of the harm”.
   22 Knevelbaard Dairies v. Kraft Foods, Inc., 232 F.3d 979, 987 (9th Cir. 2000)
   23 (quoting Am. Ad Mgmt., 190 F.3d at 1054-55); see City of Oakland v. Oakland
   24 Raiders, 20 F.4th 441, 455-61 (9th Cir. 2021) (affirming dismissal of complaint on
   25 the ground that plaintiff lacked antitrust standing based on these three factors). The
   26 first factor requires a showing of “antitrust injury, i.e., injury of the type the antitrust
   27 laws were intended to prevent and that flows from that which makes defendants’
   28 acts unlawful”. Knevelbaard Dairies, 232 F.3d at 987 (quotation omitted). This
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    1 threshold showing “ensures that a plaintiff can recover only if the loss stems from a
    2 competition-reducing aspect or effect of the defendant’s behavior”, that is, from
    3 higher prices, lower output, or lesser quality. Atl. Richfield Co. v. USA Petroleum
    4 Co., 495 U.S. 328 (1990). An antitrust plaintiff must plead all four of the following
    5 to survive dismissal: (i) unlawful conduct, (ii) causing an injury to the plaintiff,
    6 (iii) that flows from what makes the conduct unlawful, and (iv) that is of the type the
    7 antitrust laws were intended to prevent. See Knevelbaard Dairies, 232 F.3d at 987.
    8         A.    Pandora Does Not Plausibly Allege Article III Injury-in-Fact or
    9               Antitrust Standing from Alleged Supracompetitive Prices.
   10         Pandora’s hypothetical theory of harm—that “if Counterdefendants prevail[]
   11 in carrying out their scheme”, Pandora “would be forced to pay an ongoing stream
   12 of supracompetitive royalties” (Counterclaims ¶ 83 (emphases added))—fails
   13 plausibly to allege any injury-in-fact or causal antitrust injury.
   14         Pandora does not allege that it has actually entered into a license to exploit the
   15 Comedians’ literary works or has paid any royalties whatsoever for them. That
   16 alone demonstrates a lack of actual harm—even without the additional problem that
   17 Pandora nowhere alleges how or why the royalties that it refused to pay would have
   18 been supracompetitive. See Gerlinger, 526 F.3d at 1254 (“[T]he plaintiff lacks
   19 [Article III] standing because he did not show that he ever purchased an item for a
   20 higher price than he would have had there been no . . . agreement and thus has
   21 suffered no injury-in-fact.”); Eastman v. Quest Diagnostics Inc., 108 F. Supp. 3d
   22 827, 831 (N.D. Cal. 2015) (“merely alleging [defendant] charged above-competitive
   23 prices, without alleging facts demonstrating that plaintiffs were injured as a result of
   24 [defendant’s] anticompetitive conduct, is insufficient” for Article III standing).
   25         Nor can Pandora establish standing based on a theory of threatened harm.
   26 Threatened harm “must be certainly impending to constitute injury in fact”;
   27 “allegations of possible future injury are not sufficient”. Davidson v. Kimberly-
   28 Clark Corp., 889 F.3d 956, 967 (9th Cir. 2018) (quotation omitted). In McCray v.
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    1 Fidelity National Title Insurance, plaintiffs relied on allegations of a “significant
    2 threat of future losses and injuries” resulting from alleged “collective price-setting
    3 of rates”, but just like Pandora here, plaintiffs “did not indicate when such ‘future
    4 losses and injuries’ will occur” and instead “vaguely alleged that ‘[a]s a proximate
    5 result of defendants’ unlawful conduct, plaintiffs . . . will suffer future loss or
    6 damages in that they will be required to pay supracompetitive prices’”. 682 F.3d
    7 229, 243 (3d Cir. 2012). The Third Circuit concluded that plaintiffs failed plausibly
    8 to allege Article III standing. Id. at 243-44. The same result should follow here.
    9         Stated another way, Pandora cannot avoid, much less cure, its decade of
   10 copyright infringement by claiming that, in 2021, newly formed Word Collections
   11 offered Pandora a draft license it apparently did not like, ignored, and did not enter
   12 into. The royalty rate Pandora might hypothetically pay going forward after a
   13 negotiation that has never occurred cannot constitute the actual or threatened harm
   14 suffered before suit that is required to satisfy Article III standing.
   15         Pandora’s allegations also fail to clear the high bar for antitrust standing.
   16 Pandora does not plausibly allege unlawful conduct that causes injury to it of the
   17 type the antitrust laws were intended to prevent. Even taken as true, Pandora’s
   18 allegations that Word Collections “insisted that Pandora must take its . . . blanket
   19 license” at a “supracompetitive” royalty rate are insufficient as a matter of law given
   20 that Pandora admits it never accepted such alleged demands. (Counterclaims ¶ 82.)
   21 A plaintiff that did not actually accept the terms of a supposedly anticompetitive
   22 license agreement does not have antitrust standing to sue on that alleged conduct.
   23 See Edwards Vacuum, LLC v. Hoffman Instrumentation Supply, Inc., 556 F. Supp.
   24 3d 1156, 1170 n.8 (D. Or. 2021) (“[I]t is difficult to see how an unaccepted offer
   25 could ever satisfy the causal antitrust injury requirement needed in a private antitrust
   26 claim seeking money damages because an unaccepted offer would not be the ‘cause’
   27 of any material result in the marketplace.”).
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    1         In addition, Pandora does not allege that this hypothetical harm is fairly
    2 traceable to or “the direct result of [the Counterdefendants’] allegedly
    3 anticompetitive conduct”. Am. Ad Mgmt., 190 F.3d at 1058. Pandora not only
    4 acknowledges it has not entered into the supposedly anticompetitive license, but also
    5 expressly alleges that it would not do so, and, if faced with that license, would “have
    6 no choice but to drop its comedy offering entirely”. (Counterclaims ¶ 80.)
    7 “Nonpurchasers who are priced out of the market”, which Pandora claims to be, face
    8 an especially high bar for antitrust standing given “the speculative nature of the
    9 harm”. City of Oakland, 20 F.4th at 460. As the Ninth Circuit has recognized,
   10 “[a]nyone could claim that he or she would have purchased at the competitive price
   11 but was priced out of the market as the result of the anticompetitive pricing”;
   12 accordingly, “courts are likely to find that claims of those who refused to purchase
   13 at the cartel price are speculative” and thus insufficient to confer standing. Id.
   14 at 458 (quotation omitted) (affirming dismissal of antitrust claim for lack of antitrust
   15 standing). Such a finding is appropriate here.
   16         Pandora also fails to plead the threshold question of what unlawful conduct
   17 supposedly caused it antitrust injury. Although Pandora conclusorily alleges
   18 “supracompetitive” prices in several places (e.g., Counterclaims ¶¶ 4, 30, 83), it
   19 never identifies any price that was proposed, much less what was supracompetitive
   20 about it. Without any such supporting details, these allegations of injury are exactly
   21 the kind of “naked assertions devoid of further factual enhancement” that “are
   22 insufficient to survive a motion to dismiss”. Reveal Chat Holdco, LLC v. Facebook,
   23 Inc., 471 F. Supp. 3d 981, 997 (N.D. Cal. 2020) (quotation omitted) (dismissing
   24 Section 1 and Section 2 claims for failure to allege antitrust injury “in a non-
   25 conclusory manner”). Antitrust claims are properly dismissed where the “plaintiff
   26 fails to plead supportive facts beyond conclusory statements that, as a result of
   27 Defendants[’] actions . . . consumers actually faced higher prices”. Prime
   28 Healthcare Servs., Inc. v. Serv. Emps. Int’l Union, No. 11-cv-2652-GPC-RBB,
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    1 2013 WL 3873074, at *13 (S.D. Cal. July 25, 2013); see also, e.g., Adobe Sys. Inc.
    2 v. Coffee Cup Partners, Inc., No. 11-cv-2243-CW, 2012 WL 3877783, at *10 (N.D.
    3 Cal. Sept. 6, 2012) (allegation that a “lawsuit asserting [certain] patents will result in
    4 ‘reduced competition and increased prices’, with no elaboration or additional factual
    5 allegations” is nothing more than a “sweeping legal conclusion”).
    6         Finally, Pandora implies that because it has a “historic custom and practice”
    7 of merely paying the statutory entitlement for the sound recording, any royalties for
    8 comedians’ literary works would constitute supracompetitive pricing. (E.g.,
    9 Counterclaims ¶ 66.) That is an absurd argument on its face. Pandora assumes for
   10 purposes of the Counterclaims that such literary works are appropriately licensed
   11 separate and apart from the sound recordings. (Id. ¶ 6.) That Pandora licenses and
   12 pays a royalty for sound recordings to record labels has no relevance to its failure to
   13 properly license and pay for use of the underlying literary works. It is required to
   14 pay and does pay for both when it comes to music. (Ex. A, 2011 10-K at 8; Ex. B,
   15 2016 10-K at 6.) There is no difference in the law between these works and musical
   16 works. Pandora cannot rewrite the law by supposedly creating its own “custom”.
   17         If the mere allegation that a copyright holder has demanded more than a
   18 potential licensee unilaterally perceived as “historic custom” were sufficient to state
   19 an antitrust claim, valid copyright holders would be subject to antitrust liability the
   20 moment they asked for anything at all. There is no basis in antitrust law for this
   21 theory, which would chill copyright holders’ ability to assert their statutory rights.
   22 Having to pay for the use of intellectual property that Pandora previously (and
   23 improperly) took and used without paying anything for does not establish a
   24 supracompetitive price and does not support a finding of antitrust injury. See, e.g.,
   25 Intel Corp. v. Fortress Inv. Grp., 511 F. Supp. 3d 1006, 1027 (N.D. Cal. 2021)
   26 (“[A]lthough Plaintiffs suggest that the royalties were supracompetitive because
   27 prior owners did not even assert the patents in the first place, that does not mean that
   28 the patents were worthless.”).
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    1         B.    Pandora Does Not Plausibly Allege Article III Injury-in-Fact or
                    Antitrust Standing Based on Its Litigation Costs.
    2
    3         Pandora’s allegation that it has been harmed because it has “already borne the

    4 brunt of Counterdefendants’ scheme” through “[t]he costs of defending against
    5 [Comedians’ infringement suits]” (Counterclaims ¶¶ 82-83) also fails to support
    6 Article III or antitrust standing. “[I]njuries stemming from the cost or potential
    7 damages of litigation are insufficient to confer standing” for purposes of Article III.
    8 FTC v. Apex Cap. Grp., No. 18-cv-9573-JFW, 2022 WL 1060486, at *3 (C.D.
    9 Cal. Mar. 10, 2022); see also San Diego Unified Port Dist. v. Monsanto Co.,
   10 309 F. Supp. 3d 854, 866-67 (S.D. Cal. 2018) (holding counterclaimant “fail[ed] to
   11 allege sufficient facts to establish Article III standing to assert its counterclaims
   12 premised on defense costs” because “[l]itigation costs are insufficient to establish
   13 standing for purposes of Article III”). That is particularly true here because
   14 Pandora’s allegations of harm arise from its attempts to avoid liability in the
   15 underlying copyright infringement lawsuits, which Pandora expressly assumes are
   16 pursuing cognizable rights. (Counterclaims ¶ 6.)
   17       Pandora’s reliance on a litigation costs theory of harm similarly fails to

   18 support antitrust standing. “It is injury to the market or to competition in general,
   19 not merely injury to individuals or individual firms that is significant.” McGlinchy
   20 v. Shell Chem. Co., 845 F.2d 802, 812 (9th Cir. 1988). “A claim of injury in the
   21 form of attorneys’ fees in defending against a[n] . . . infringement suit is not an
   22 injury to ‘competition’ or the type of injury that the antitrust laws were designed to
   23 protect against, but is rather a purely individual economic injury . . . that has no
   24 effect on competition in the relevant market.” Chip-Mender, Inc. v. Sherwin-
   25 Williams Co., No. 05-cv-3465-PJH, 2006 WL 13058, at *5-6 (N.D. Cal. Jan. 3,
   26 2006); see also Am. Med. Ass’n v. United Healthcare Corp., No. 00-cv-2800-LMM,
   27 2007 WL 683974, at *5 (S.D.N.Y. Mar. 5, 2007) (“Even reading the complaint
   28 generously, it cannot be said that the litigation costs incurred by Counterclaim
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    1 Plaintiffs are injuries that antitrust laws were intended to prevent or that have had an
    2 adverse effect on competition as a whole.”). Pandora alleges no harm to anyone but
    3 itself, which is not the type of harm that the antitrust laws were intended to prevent.
    4           Moreover, Pandora cannot establish a causal connection between this alleged
    5 harm and the alleged antitrust violation. Gerlinger, 526 F.3d at 1255. The
    6 underlying lawsuits seek, among other things, damages for Pandora’s past
    7 infringement. (See Complaint ¶¶ 154-58.) Those claims and the costs of defending
    8 against them would exist regardless of any alleged anticompetitive conduct
    9 involving Word Collections to “force” a license upon Pandora for the use of literary
   10 works on a future basis.4 As such, Pandora’s purported injury based on litigation
   11 costs is not “fairly traceable” to the challenged conduct. See Clapper v. Amnesty
   12 Int’l, USA, 568 U.S. 398, 412-13 (2013) (no standing where the alleged injury could
   13 occur regardless of the conduct challenged by plaintiffs, and therefore was
   14 not fairly traceable to that conduct); see also Glen Holly Ent., Inc. v. Tektronix, Inc.,
   15 100 F. Supp. 2d 1073, 1081 (C.D. Cal. 1999) (“[A] harm is not an antitrust harm if it
   16 would necessarily have occurred without the anti-competitive behavior.”).
   17 II.       NOERR-PENNINGTON BARS PANDORA’S COUNTERCLAIMS.
   18           Pandora’s Counterclaims should be dismissed for another independent reason:
   19 the Counterdefendants’ copyright enforcement efforts are protected First
   20 Amendment petitioning activity under the Noerr-Pennington doctrine and thus
   21 cannot give rise to antitrust liability. See Pro. Real Estate Invs., Inc. v. Columbia
   22 Pictures Indus., Inc. (“PRE”), 508 U.S. 49, 56 (1993).
   23           The Noerr-Pennington doctrine recognizes that the First Amendment protects
   24 citizens’ right to “use . . . courts to advocate their causes and points of view
   25
   26
            4
            Moreover, if Pandora were successful in the underlying copyright infringement
   27
      litigation, the Court would have discretion to award it attorneys’ fees and costs,
   28 17 U.S.C. § 505, which would leave it with no actual harm.
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    1 respecting resolution of their business and economic interests”. BE & K Constr. Co.
    2 v. NLRB, 536 U.S. 516, 525 (2002). The immunity extends beyond litigants to their
    3 agents and representatives. Freeman v. Lasky, Haas & Cohler, 410 F.3d 1180, 1186
    4 (9th Cir. 2005). In addition, the doctrine protects not only the litigation itself, but
    5 also conduct incidental to filing a lawsuit, including pre-litigation communications
    6 seeking resolution or settlement of legal claims. Sosa v. DirecTV, Inc., 437 F.3d
    7 923, 935 (9th Cir. 2006) (“[W]e have recognized that, in the litigation context, not
    8 only petitions sent directly to the court in the course of litigation, but also conduct
    9 incidental to the prosecution of the suit is protected by the Noerr-Pennington
   10 doctrine.” (quotation omitted)). Courts “routinely dismiss[] claims that are barred
   11 by the Noerr-Pennington doctrine” at the pleading stage. Entrepreneur Media, Inc.
   12 v. Dermer, No. 18-cv-01562-JVS-KES, 2019 WL 4187466, at *4 (C.D. Cal. July 22,
   13 2019) (collecting cases); see also, e.g., Fitbit, Inc. v. Laguna 2, LLC, No. 17-cv-
   14 00079-EMC, 2018 WL 306724, at *10 (N.D. Cal. Jan. 5, 2018).
   15         Pandora’s Counterclaims are a naked attempt to chill the Comedians’
   16 copyright infringement claims. Pandora’s requested relief boldly seeks, among
   17 other things, “[a]n injunction prohibiting Counterdefendants . . . from instituting, or
   18 threatening to institute, copyright infringement actions directed against the use by
   19 Pandora of copyrighted works licensed by Word Collections”. (Counterclaims
   20 Prayer for Relief § (e).) Pandora is clearly trying to misuse legal process to get
   21 relief in the copyright actions that it cannot achieve on the merits in those cases.
   22 Counterdefendants’ copyright enforcement efforts—including pre-litigation notices
   23 of infringement and accompanying requests that Pandora enter into a license—are
   24 exactly the types of First Amendment protected activity the Noerr-Pennington
   25 doctrine exists to safeguard. The Proposed License was clearly incidental to the pre-
   26 litigation communications—it was sent to Pandora in March 2021 along with a
   27 notice of infringement and legal memoranda explaining the bases for a copyright
   28 infringement claim. (Ex. C, 3/11/21 Email from J. Price to J. Subramaniam et al.)
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    1            Apple, Inc. v. Motorola Mobility, Inc., 886 F. Supp. 2d 1061 (W.D. Wis.
    2 2012), is instructive. There, Apple asserted an antitrust claim alleging that the
    3 defendant “fail[ed] to offer a [fair, reasonable and nondiscriminatory] license” and
    4 then enforced its patents against Apple in litigation. Id. at 1076. Like Pandora,
    5 Apple had not paid royalties to the defendant; instead, “the only injury Apple
    6 suffered as a result of [defendant’s] alleged antitrust violation was the attorney fees
    7 and costs that it has incurred responding to the patent litigation”. Id. The court held
    8 that Noerr-Pennington barred Apple’s claim because “its antitrust claim [was]
    9 necessarily based on [defendant’s] patent litigation”. Id. The same is true here, and
   10 the Court should dismiss all of the Counterclaims with prejudice. 5 See, e.g., Staley
   11 v. Gilead Scis., Inc, No. 19-cv-02573-EMC, 2020 WL 5507555, at *19 (N.D. Cal.
   12 July 29, 2020) (“Plaintiffs have not articulated any other means by which they could
   13 avoid Noerr-Pennington immunity here, and thus amendment would be futile.”).
   14 III.       PANDORA FAILS TO PLEAD A PLAUSIBLE ANTITRUST CLAIM.
   15            Pandora’s Counterclaims also should be dismissed for failure to plead the
   16 requisite elements of antitrust liability.
   17            A.    Pandora’s Failure To Seek Individual Licenses Is Fatal.
   18            Pandora does not and cannot allege that it ever sought an individual license
   19 for literary works from the Comedians, Word Collections or any other entity. This
   20 failure is fatal to all of its antitrust claims.
   21            The Second Circuit established the rule that “the opportunity to acquire a pool
   22 of rights does not restrain trade if an alternative opportunity to acquire individual
   23
   24
             5
           Pandora does not (because it cannot) plead the sham litigation exception to
   25
      Noerr-Pennington immunity, which requires, among other things, a showing that the
   26 underlying litigation is “objectively baseless in the sense that no reasonable litigant
      could realistically expect success on the merits”. PRE, 508 U.S. at 60-61. Notably,
   27
      Pandora never moved to dismiss the copyright actions, and has warned publicly that
   28 such claims might be brought for the past decade. (E.g., Ex. A, 2011 10-K at 29.)
                 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS
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    1 rights is realistically available”. Buffalo Broad. Co. v. Am. Soc’y of Composers,
    2 Authors & Publishers, 744 F.2d 917, 925 (2d Cir. 1984). Courts in this Circuit
    3 agree. E.g., Nero AG v. MPEG LA, LLC, No. 10-cv-3672-MRP-RZ, 2010 WL
    4 4366448, at *6 (C.D. Cal. Sept. 14, 2010) (“The opportunity to acquire a pool of
    5 rights does not restrain trade if an alternative opportunity to acquire individual rights
    6 is fully available.”); Sumitomo Mitsubishi Silicon Corp. v. MEMC Elec. Materials,
    7 Inc., No. 05-cv-02133-SBA, 2007 WL 2318903, at *15 (N.D. Cal. Aug. 13, 2007)
    8 (“Courts have repeatedly held that if the antitrust plaintiff had the opportunity to
    9 license independently from individual owners of copyright or patent rights engaged
   10 in a pooled activity, then the pool of rights does not restrain trade . . . .”).
   11          “The burden of proving lack of realistic opportunity to license directly cannot
   12 be met where a plaintiff never makes an inquiry or attempts to negotiate a single
   13 individual license.” Nero, 2010 WL 4366448, at *6; see also Nat’l Cable Television
   14 Ass’n v. BMI, 772 F. Supp. 614, 634 (D.D.C. 1991) (holding that “realistically
   15 available alternatives” to a “blanket license” existed where “plaintiffs failed to show
   16 that they made any serious efforts to obtain” an alternative license). Indeed, the
   17 Nero court dismissed an antitrust complaint where the plaintiff “failed to plausibly
   18 allege it lacks a ‘realistic opportunity’ as a ‘practical matter’ to obtain individual
   19 licenses from individual patent holders”. Nero, 2010 WL 4366448, at *7. That is
   20 precisely the case here. According to Pandora’s own allegations, it could deal
   21 individually with comedians to separately license literary works “without
   22 difficulty”. (Counterclaims ¶ 46.) But at no point during the past decade has
   23 Pandora ever attempted to negotiate any license for any literary work with the
   24 rightsholders or their representatives. 6 This is fatal to all of Pandora’s Section 1 and
   25 Section 2 claims. Buffalo Broad., 744 F.2d at 933; Nero, 2010 WL 4366448, at *6.
   26
   27      6
            Word Collections made clear in the meet and confer process for this motion
   28 that it is willing to enter into individual licenses on behalf of its clients. It is
               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS
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    1        B.     Pandora Fails To State a Claim Under Sherman Act Section 2.
    2        To state a valid claim for monopolization, attempted monopolization or
    3 conspiracy to monopolize, an antitrust plaintiff must adequately allege that a
    4 “relevant market” exists, the defendant has power in that market, and the defendant
    5 has engaged in anticompetitive conduct in that market. Newcal Indus., Inc. v. IKON
    6 Off. Sol., 513 F.3d 1038, 1044 & n.3 (9th Cir. 2008). Pandora fails to meet this bar.
    7               1.    Pandora Does Not Adequately Allege a Relevant Market.
    8        An antitrust claim is properly dismissed if its “relevant market” definition is
    9 “facially unsustainable”. Newcal, 513 F.3d at 1045. To avoid dismissal, a plaintiff
   10 must plead a product market that “encompass[es] the product at issue as well as all
   11 economic substitutes for the product”. Hicks v. PGA Tour, Inc., 897 F.3d 1109,
   12 1120 (9th Cir. 2018) (quoting Newcal, 513 F.3d at 1045). Economic substitutes are
   13 products that “have a ‘reasonable interchangeability of use’ or sufficient ‘cross-
   14 elasticity of demand’ with the relevant product”. 7 Id. (quoting Newcal, 513 F.3d
   15 at 1045). An alleged market is “facially unsustainable” where “a plaintiff fails to
   16 define [its] proposed relevant market with reference to the rule of reasonable
   17 interchangeability and cross-elasticity of demand”. Honey Bum, LLC v. Fashion
   18
   19
      Pandora who does not actually want to do so because its position here is
   20 manufactured for litigation; Pandora has stated in rate-setting proceedings that it
   21 does not want a royalty structure with non-static per-play fees because that would
      create a perverse incentive for Pandora to limit the amount of hours of streaming its
   22 users consume and “blow[] . . . up” the alignment of interests between Pandora’s
   23 business objectives and “the long-term royalty streams of the copyright holders”.
      (Ex. E, Herring Testimony at 894:12-897:3.)
   24
          7
            Cross-elasticity of demand “measures the percentage change in quantity that
   25
      consumers will demand of one product in response to a percentage change in the
   26 price of another”, so “[w]hen demand for the commodity of one producer shows no
      relation to the price for the commodity of another producer, it supports the claim
   27
      that the two commodities are not in the same relevant market”. Theme Promotions,
   28 Inc. v. News Am. Mktg. FSI, 546 F.3d 991, 1002 (9th Cir. 2008).
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    1 Nova, Inc., No. 20-cv-11233-RGK-AS, 2021 WL 4205618, at *5 (C.D. Cal. Mar.
    2 26, 2021) (quotation omitted) (“[Plaintiff’s] failure to address the rule of reasonable
    3 interchangeability . . . renders [its] alleged relevant market legally insufficient.”).
    4         Pandora’s alleged relevant product market, namely the “U.S. market for the
    5 rights to comedy routines embodied in comedy recordings” (Counterclaims ¶¶ 71-
    6 72), suffers from the same flaws as in Honey Bum and should be dismissed.
    7         Pandora’s Counterclaims are devoid of any discussion of reasonable
    8 interchangeability or cross-elasticity of demand. Instead, Pandora conclusorily
    9 states without any support that it and its users would not switch to other kinds of
   10 programming if comedy recordings became unavailable or more expensive and that
   11 “comedy programming answers consumer demand that is different from consumer
   12 demand for music programming”. (Id. ¶¶ 74-75.) Likewise, Pandora’s conclusory
   13 allegation that “consumer demand for streaming of comedy recordings is specific to
   14 recorded comedy” (id. ¶ 73) is nothing more than a tautology. These allegations are
   15 insufficient to plead a relevant market. See Hicks, 897 F.3d at 1122 (explaining that
   16 “merely restat[ing] a test for market definition without any factual elaboration”
   17 renders a product market facially unsustainable); Reudy v. Clear Channel Outdoors,
   18 Inc., 693 F. Supp. 2d 1091, 1127 (N.D. Cal. 2010) (granting motion to dismiss
   19 monopolization claims because of “vague and conclusory” market allegations).
   20         In addition, Pandora’s alleged market rises and falls on the assumption that all
   21 comedy works in its proposed market are substitutable for one another, regardless of
   22 “price, quality and desirability to listeners”. (Counterclaims ¶ 38.) This directly
   23 contradicts Pandora’s allegations, discussed below in the context of Pandora’s
   24 flawed tying claim, that there exist separate product markets for “desired comedy
   25 recordings” and “less desirable material”. (Id. ¶¶ 66, 93.) This internal
   26 inconsistency (and inconsistency with Pandora’s litigation position in other
   27 proceedings, see n.6) is reason enough for the Court to reject Pandora’s proposed
   28 product market as inadequately pleaded. See, e.g., Apple, Inc. v. Psystar Corp.,
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    1 586 F. Supp. 2d 1190, 1200 (N.D. Cal. 2008) (rejecting product market defined by
    2 “internally contradictory” allegations); Zunum Aero, Inc. v. Boeing Co., No. 21-cv-
    3 0896-JLR, 2022 WL 2116678, at *9 (W.D. Wash. June 13, 2022) (same).
    4               2.     Pandora Does Not Adequately Allege Market Power.
    5         Even if Pandora had adequately alleged a relevant product market, it fails
    6 plausibly to allege that Counterdefendants possess market power within that market.
    7 Pandora’s repeated incantation of the naked legal conclusion that Counterdefendants
    8 have “market power” and “monopoly power” is insufficient to state a claim. See
    9 Rick-Mik Enters., Inc. v. Equilon Enters., LLC, 532 F.3d 963, 972 (9th Cir. 2008).
   10         Market power must be alleged either directly or circumstantially. To allege it
   11 directly, the plaintiff must allege “direct evidence of the injurious exercise of market
   12 power”, i.e., “evidence of restricted output and supracompetitive prices”. Rebel Oil
   13 Co. v. Atl. Richfield Co., 51 F.3d 1421, 1434 (9th Cir. 1995). Here, Pandora fails to
   14 allege any facts—as opposed to conclusory assertions—plausibly suggesting
   15 restricted output or supracompetitive prices in the alleged market. Indeed, Pandora
   16 does not allege that it ever at any point in the past decade even attempted to secure a
   17 literary work license from anyone and failed due to Counterdefendants’ purported
   18 market dominance. (Section I.A.)
   19         To allege market power circumstantially, the plaintiff must show that “the
   20 defendant owns a dominant share of that market”, “that existing competitors lack the
   21 capacity to increase their output in the short run”, and that “there are significant
   22 barriers to entry” for new competitors. Rebel Oil, 51 F.3d at 1434. Pandora does
   23 not even try to allege any of these elements of market power.
   24         “Measurement of market share is necessary to determine whether the
   25 defendant possesses sufficient leverage to influence marketwide output” and “hence,
   26 increase prices”. Id. at 1437. Pandora nowhere alleges Counterdefendants’ share of
   27 the market. Pandora does not allege that Word Collections is the only or the
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    1 dominant licensor in its alleged market. 8 These failures are fatal. See, e.g., Rick-
    2 Mik, 532 F.3d at 972 (allegation that defendant “rank[s] number one in the
    3 industry” did not suffice to allege market power in gasoline franchises market absent
    4 allegations as to, e.g., percentage of franchises owned by defendant as compared to
    5 other branded franchises, “percentage of gasoline retail sales . . . made through non-
    6 franchise outlets”, and “relative difficulty of a franchisee to switch franchise
    7 brands”); Hip Hop Beverage Corp. v. Monster Energy Co., No. 16-cv-1421-SVW-
    8 FFM, 2016 WL 7324091, at *6 (C.D. Cal. Oct. 26, 2016) (dismissing complaint that
    9 alleged defendant “has ‘significant’ control of the market, but [did] not plead any
   10 specific facts of its control”); Digital Sun v. Toro Co., No. 10-CV-4567-LHK,
   11 2011 WL 1044502, at *3 (N.D. Cal. Mar. 22, 2011) (dismissing complaint lacking
   12 “any allegations regarding [defendant’s] share of the relevant market”).
   13          Pandora has touted that its “collection” of comedy recordings grew from over
   14 1,000 comedians and 15,000 tracks in 2011 to more than 3,000 comedians and
   15 35,000 tracks in 2016. (Compare Ex. A, 2011 10-K at 6, with Ex. B, 2016 10-K
   16 at 3.) Those numbers dwarf the few dozen comedians and their literary works that
   17 Word Collections represents. (Counterclaims ¶¶ 50, 57-60.) Pandora alleges that
   18 “only a handful of comedians account for any significant number of streams across
   19 Pandora’s services” (id. ¶ 31), but it nowhere identifies that handful of comedians or
   20 alleges that they are Word Collections clients. 9 These allegations do not establish
   21 market power.
   22
           8
   23       Indeed, Pandora conveniently ignores the existence of Spoken Giants, another
      “global rights administration company for the owners and creators of Spoken Word
   24 copyrights”, including comedians and their estates. (Ex. D,
   25 https://www.spokengiants.com/ (last accessed July 15, 2022).)
           9
   26       Notably, Pandora has removed each Comedian’s catalogue from all of
      Pandora’s services. (Complaint ¶ 131.) A firm whose customers respond to a price
   27
      increase by simply dropping the product is not a monopolist. See, e.g., Gen. Bus.
   28 Sys. v. N. Am. Philips Corp., 699 F.2d 965, 972 (9th Cir. 1983).
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    1         Pandora also does not plead any barriers to entry whatsoever. It does not
    2 suggest that other performance rights organizations would not or could not enter the
    3 market to license on behalf of rightsholders and compete with Word Collections
    4 (and Spoken Giants) in offering licenses, or that Word Collections does anything
    5 that prevents new entrants from doing so. See L.A. Land Co. v. Brunswick Corp.,
    6 6 F.3d 1422, 1428 (9th Cir. 1993) (“The disadvantage of new entrants as compared
    7 to incumbents is the hallmark of an entry barrier.”); Rebel Oil, 51 F.3d at 1439 (“To
    8 justify a finding that a defendant has the power to control prices, entry barriers must
    9 be significant—they must be capable of constraining the normal operation of the
   10 market to the extent that the problem is unlikely to be self-correcting.”).
   11         C.    Pandora Fails To State a Claim Under Sherman Act Section 1.
   12         Pandora asserts two claims under Section 1 of the Sherman Act: a
   13 “conspiracy to fix prices” claim and a tying claim. (Counterclaims ¶¶ 84-95.) Both
   14 claims fail for various reasons, in addition to those stated above.
   15               1.     Pandora Fails To Allege an Antitrust Conspiracy.
   16         Under Section 1, two kinds of analysis may be used. A per se rule is applied
   17 when “the practice facially appears to be one that would always or almost always
   18 tend to restrict competition and decrease output”. BMI v. CBS, Inc., 441 U.S. 1,
   19 19-20 (1979). The rule of reason, on the other hand, “distinguishes between
   20 restraints with anticompetitive effect that are harmful to the consumer and restraints
   21 stimulating competition that are in the consumer’s best interest”. Brantley, 675 F.3d
   22 at 1197 (“We generally evaluate whether a practice unreasonably restrains trade in
   23 violation under the ‘rule of reason.’”). Pandora asserts in passing that
   24 “Counterdefendants’ conspiracy to fix prices” is a “per se violation of Section 1”
   25 (Counterclaims ¶ 88), but makes no allegation about what they supposedly did to
   26 “fix”—as opposed to simply propose—a royalty rate. The Supreme Court has held
   27 that even a “blanket license” that “accompanies the integration of sales, monitoring,
   28 and enforcement against unauthorized copyright use” is subject at most to antitrust’s
              MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION TO DISMISS
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    1 “rule of reason”, rather than any per se prohibition. BMI, 441 U.S. at 20; see also
    2 Freeman v. San Diego Ass’n of Realtors, 322 F.3d 1133, 1150 (9th Cir. 2003).
    3           Either way, a plaintiff must allege “evidentiary facts” supporting the existence
    4 of “a contract, combination or conspiracy . . . by which the person or entities
    5 intended to harm or restrain trade”. 10 Kendall, 518 F.3d at 1047 (emphases added);
    6 see also Twombly, 550 U.S. at 557. That requires specific allegations of “who, did
    7 what, to whom (or with whom), where, and when”. In re Musical Instruments &
    8 Equip. Antitrust Litig., 798 F.3d 1186, 1194 n.6 (9th Cir. 2015). “[A] conclusory
    9 allegation of agreement at some unidentified point does not supply facts adequate to
   10 show illegality.” Twombly, 550 U.S. at 557.
   11           Here, Pandora fails to allege any agreement or meeting of the minds to
   12 unreasonably restrain trade. Pandora’s Section 1 claim rests on an alleged “price-
   13 fixing scheme”, but the Counterclaims do not contain the requisite factual
   14 allegations to support the existence of any such agreement between or among any of
   15 the Counterdefendants to pursue that course of action. Pandora never even states
   16 what kind of conspiracy it is alleging.
   17           To the extent that Pandora is attempting to allege that each Comedian agreed
   18 with Word Collections to set the prices of the other Comedians’ literary works, that
   19 attempt completely fails because there are no facts alleged to support that theory.
   20 Pandora’s various allegations of agreements “between” Word Collections and others
   21 are conclusory and thus not entitled to be treated as true. (See, e.g., Counterclaims
   22 ¶ 52 (alleging “agreements between Word Collections and its co-conspirator
   23 comedians, including the other Counterdefendants”)); Bay Area Surgical Mgmt.
   24 LLC v. Aetna Life Ins., 166 F. Supp. 3d 988, 995 (N.D. Cal. 2015) (dismissing
   25 Section 1 conspiracy claim for failure to plead factual support for “the ‘what,’
   26
   27      10
            The rule of reason also requires Pandora to plead market power and
   28 anticompetitive effects, which Pandora fails to do. (Sections I, III.A, III.B.)
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    1 ‘who,’ ‘where,’ and ‘when’” details). The more accurate and plausible reading of
    2 the Counterclaims is that each Comedian unilaterally decided to license its literary
    3 works through Word Collections and allowed Word Collections to negotiate on its
    4 behalf without any understanding or agreement whatsoever with any other
    5 Comedian. That is not anticompetitive behavior. In re Musical Instruments, 798
    6 F.3d at 1194 (allegations that “could just as easily suggest rational, legal business
    7 behavior by the defendants as they could suggest an illegal conspiracy are
    8 insufficient to plead a § 1 violation” (quotation omitted)).
    9        If Pandora is attempting to allege that each Comedian agreed only with Word
   10 Collections to set the price of its own literary works, Pandora does not allege how
   11 such an arrangement is illegal or how it differs from any other talent-and-licensing
   12 agent agreement, which are the products of rational, legal business behavior. See,
   13 e.g., Stockfood Am., Inc. v. Adagio Teas, Inc., 475 F. Supp. 3d 394, 403-04 (D.N.J.
   14 2020) (“It stands to reason that many copyright holders, such as photographers and
   15 musicians, are not interested in the day-to-day business of drafting licenses, and
   16 would rather outsource those functions to another. Courts presuppose, without
   17 much analysis, that such copyright holders may appoint an ‘exclusive licensing
   18 agent.’”); BMI v. Moor-Law, Inc., 527 F. Supp. 758, 762 (D. Del. 1981)
   19 (“Economies of scale exist as sellers band together to spread transaction costs of
   20 identical transactions over a larger group.”). Moreover, where, as here, the parties
   21 are principal and agent, that relationship cannot be the basis of a conspiracy claim.
   22 See Am. Needle v. NFL, 560 U.S. 183, 195-96 (2010) (an illegal contract or
   23 conspiracy must be “amongst ‘separate economic actors pursuing separate economic
   24 interests’ such that the agreement ‘deprives the marketplace of independent centers
   25 of decisionmaking’ . . . and thus of actual or potential competition” (quoting
   26 Copperweld Corp. v. Indep. Tube Corp., 467 U.S. 752, 768-69 (1984)).
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    1                2.    Pandora Fails To State a Section 1 Tying Claim.
    2         Tying involves the linking of two separate products from two separate
    3 product markets. Jefferson Par. Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 21 (1984),
    4 abrogated on other grounds by Ill. Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 28
    5 (2006); Cascade Health Sols. v. PeaceHealth, 515 F.3d 883, 912 (9th Cir. 2008).
    6 Tying arrangements are evaluated under Section 1 using either per se or rule of
    7 reason analysis. See Jefferson Par., 466 U.S. at 29. Under the per se rule, a
    8 plaintiff must plead: “(1) that the defendant tied together the sale of two distinct
    9 products or services; (2) that the defendant possesses enough economic power in the
   10 tying product market to coerce its customers into purchasing the tied product; and
   11 (3) that the tying arrangement affects a not insubstantial volume of commerce in the
   12 tied product market.” Cascade Health Sols., 515 F.3d at 913 (quotation omitted).
   13 The rule of reason additionally requires that the alleged tie “actually injures
   14 competition”. Brantley, 675 F.3d at 1200. Pandora does not specify which theory
   15 of tying it is pursuing, but its claim fails under either theory.
   16         First, the Counterclaims do not adequately allege the existence of two distinct
   17 products in different markets. Pandora alleges that the Counterdefendants have tied
   18 “desired comedy recordings” to “other, less desirable material, including not just
   19 comedy but other spoken word material as well”. (Counterclaims ¶¶ 66, 93.)
   20 Pandora does not, however, explain how its subjective preferences for what it (or
   21 some undefined other person or group) considers “desirable” comedy versus “less
   22 desirable” comedy at any given point in time justifies defining two separate product
   23 markets. Hicks, 897 F.3d at 1121 (rejecting proposed markets that are “artificial” or
   24 “contorted to meet [plaintiff’s] litigation needs”). These allegations are also
   25 inconsistent with Pandora’s alleged relevant product market for its Section 2 claims,
   26 which comprises all comedy routines, regardless of “desirability”. Times-Picayune
   27 Publ’g Co. v. United States, 345 U.S. 594, 614 (1953) (rejecting tying claim where
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    1 the “tying” and “tied” products were part of the same market); Freeman, 322 F.3d
    2 at 1146 n.14 (“Distinct product markets are crucial to a tying claim.”).
    3         Second, Pandora does not plead any facts to show that Counterdefendants
    4 possess market power over “desirable” comedy recordings that would allow them to
    5 force Pandora to buy or pay more for “less desirable” comedy recordings as a
    6 condition of accessing the content it wants. Without such supporting facts, “there
    7 can be no cognizable tying claim”. Rick-Mik, 532 F.3d at 972. Nor does Pandora
    8 plausibly allege that it is forced to pay for anything it does not want. The plain
    9 language of the Proposed License makes clear that Pandora would pay royalties only
   10 on content that it actually uses. (Ex. C, Proposed License ¶ 5; see supra n.3.) There
   11 can be no tie where there is no forced purchase. See, e.g., Ways & Means, Inc. v.
   12 IVAC Corp., 506 F. Supp. 697, 701 (N.D. Cal. 1979) (no tie where the tying product
   13 “is truly available without the condition that other products be purchased with it”).
   14         Third, Pandora cannot allege that the supposed tying arrangement affects a
   15 “not insubstantial” volume of commerce in the tied product market. “The injury
   16 caused by an unlawful tying arrangement is ‘reduced competition in the market for
   17 the tied product.’” Blough v. Holland Realty, 574 F.3d 1084, 1089 (9th Cir. 2009)
   18 (quoting Rick-Mik, 532 F.3d at 971). “Zero foreclosure exists where the tied
   19 product is completely unwanted by the buyer.” Id. Thus, where one is forced to
   20 buy a product it would not have bought from another seller in the tied product
   21 market, as Pandora alleges it is forced to buy rights it “does not need” in the “less
   22 desirable” literary works market (Counterclaims ¶ 93), “there can be no adverse
   23 impact on competition because no portion of the market which would otherwise
   24 have been available to other sellers has been foreclosed”. Blough, 574 F.3d at 1089
   25 (quoting Jefferson Par., 466 U.S. at 16).
   26                                      CONCLUSION
   27         For the reasons stated above, Pandora’s Counterclaims should be dismissed in
   28 their entirety and with prejudice.
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   14                                          Word Collections, Inc.

   15
        DATED: July 15, 2022
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